                                                                                 Motion GRANTED.

                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                     )
                                             )
V.                                           )        CASE NO. 3:10-00163
                                             )        JUDGE TRAUGER
MONTEZ HALL, ET AL.                          )


  DEFENDANT MONTEZ HALL'S MOTION TO ADOPT SEVERAL PRE-TRIAL
         MOTIONS OF DEFENDANT RONDARIUS WILLIAMSON

       Comes the Defendant, Montez Hall, through undersigned counsel, and hereby

respectfully requests that he be permitted to adopt several pretrial motions filed by codefendant

Rondarius Williamson in this matter:

       1.     Motion for the Court to pay for care of dependent children and family members of

              single parents who are selected as jurors (Docket Entry 766);

       2.     Motion for daily trial transcript (Docket Entry 768);

       3.     Motion to Compel Notice of Intent to Offer Evidence of Other Crimes, Wrongs,

              or Acts. (Docket Entry 786);

       4.     Motion to preclude the government from introducing interpretations of the

              accused’s words and or phrases (Docket Entry 788);

       5.     Motion for jury questionnaire. (Docket Entry 789); and

       6.     Motion for a Bill of Particulars (Docket Entry 798).




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